          Case 5:15-cv-00128-F Document 8 Filed 02/19/15 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA

(1) INSURED AIRCRAFT TITLE
SERVICE, INC.,

            Plaintiff,

            v.

(1) BELAIR HOLDINGS LIMITED,
(2) ETOLE HOLDINGS LIMITED, and
(3) HONGKONG HUAXIN
PETROLEUM LIMITED,

            Defendants.
                                           Case No. CIV-15-128-F
(1) BELAIR HOLDINGS LIMITED,

            Third-Party Plaintiff,

            v.

(1) OPUS AERONAUTICS,
(2) ROBERT PEERLESS,
(3) ALEXANDRE LOMBARD,
(4) FREESTREAM AIRCRAFT
(BERMUDA) LTD.,
(5) ALIREZA ITTIHADIEH,

                   Third-Party
                   Defendants.



 DEFENDANT BELAIR HOLDINGS LIMITED’S DISCLOSURE STATEMENT

      Pursuant to Rule 7.1 Federal Rule of Civil Procedure, Defendant Belair Holdings

Limited (a nongovernmental corporate party), by and through its undersigned counsel,
           Case 5:15-cv-00128-F Document 8 Filed 02/19/15 Page 2 of 4




certifies that it does not have a parent corporation and no publicly held corporations own

10% or more of its stock


      Dated this 19th day of February, 2015.


                                         Respectfully Submitted,


                                         /s/ C. Russell Woody
                                         Charles E. Geister III, OBA #3311
                                         C. Russell Woody, OBA #21413
                                         Elizabeth A. Price, OBA #22278
                                         HARTZOG CONGER CASON & NEVILLE
                                         201 Robert S. Kerr Avenue
                                         1600 Bank of Oklahoma Plaza
                                         Oklahoma City, Oklahoma 73102
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                                         COUNSEL FOR BELAIR HOLDINGS
                                         LIMITED




                                            2
           Case 5:15-cv-00128-F Document 8 Filed 02/19/15 Page 3 of 4




                            CERTIFICATE OF SERVICE

      I hereby certify that on the same date this Disclosure Statement was filed in the
United States District Court for the Western District of Oklahoma and a true and correct
copy of said Disclosure Statement was served upon the following:

      Insured Aircraft Title Service, Inc.
      John. M. Thompson
      Adam C. Hall
      Crowe & Dunlevy
      A Professional Corporation
      Braniff Building
      324 N. Robinson Ave., Suite 100
      Oklahoma City, OK 73102
      (405) 235-7700
      (405) 239-6651 (Facsimile)

      Etole Holdings Limited
      P.O. 3175
      Road Town
      Tortola, British Virgin Islands

      Hongkong Huaxin Petroleum Limited
      Room 2302-2304, 23/F
      Convention Plaza Office Tower
      1 Harbour Road, Wan Chai
      Hong Kong

      Opus Aeronautics
      10 avenue de Grande-Bretagne
      98000 Monaco

      Robert Peerless
      21 Avenue Princesse Grace
      98000 Monaco

      Alexandre Lombard
      10 avenue de Grande-Bretagne
      98000 Monaco

      Freestream Aircraft (Bermuda) Ltd.
      Canon's Court
      22 Victoria Street

                                             3
    Case 5:15-cv-00128-F Document 8 Filed 02/19/15 Page 4 of 4




Hamilton HM 12
Bermuda

Alireza Ittihadieh
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                              /s/ C. Russell Woody
                              C. Russell Woody




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